Case 2.10-Md-021/0-CJB-DPC Document 4457-52 Filed 11/01/11 Pa

CORBIN ON CONTRACTS

CONTRACTS CONTRARY TO
PUBLIC POLICY

By
GRACE McLANE GIESEL

Distinguished Teaching Professor
Louis D. Brandeis School of Law
University of Louisville

Volume 15

REVISED EDITION

JOSEPH M. PERILLO, Editor

§§ 79.1-89.23

2003

@ LexisNexis”

Matthew Bender”

Ch. 85 TO DEFRAUD OR (YTHERWISE (SJURE THIRD PERSONS § 85.18

§ 85.18 Bargains for Exemption From Liability for
Negligence

The general rule of exculpatory agreements is that a party may agree
to exempt another party from tort liability if that tort liability results from
ordinary negligence. Courts do not enforce agreements to exempt parties
from tort liability if the liability results from that party's own gross
negligence, recklessness, or intentional conduct.!

This general rule of enforceability of exculpatory agreements regarding
negligence does not apply to certain types of contracts.

Public Service-——Common Carriers

Perhaps the most significant limit is that courts have not enforced
exculpatory agreements if the party who is released from liability renders
a public service and the exculpatory agreement relates to that public
service. @

1 See. eg:

U.S.—Houston Exploration Co. vy. Halliburton Energy Servs., Inc., 269 F.3d 528 (Sth
Cir. 2001); Beaver v. Grand Prix Karting Ass'n. Inc., 246 F.3d 905 (7th Cir. 2001): Royal
Ins. Co. v. Southwest Marine, 194 F.3d 1009 (9th Cir. 1999), Brooks v. Timberline Tours,
Inc. 127 F.3d 1273 (10 Cir. 1997); Valhal Corp. v. Sullivan Assoces., Inc., 44 F.3d 195
(4d Cir. 1995); Associated Resources Corp. v. Halliburton Oil Well Cementing Co., 238
F 2d 957 (8th Cir. 1956), cert. denied, 353 U.S. 912 (1957); Thomas v. Atlantic Coast Line
Ry. 201 F.2d 167 (Sth Cir. 1953) (a fire destroyed the property of a lessee on land by a
railroad; although the lessee had agreed to indemnify the railroad against such losses. even
though due to negligence, the court sustained the complaint on the ground that it could be
construed as alleging wilful or wanton negligence), Wolfgang v. Mid-Am. Motorsports, Inc.
898 F. Supp. 783 (D. Kan. 1995).

Fla.—Zuckerman-Vernon Corp. v. Rosen, 361 So. 2d 804 (Fla. Dist. Ct. App. 1978).

Ga.—Flanigan v. Executive Office Curs., Inc., 249 Ga. App. 14, 546 S.E.2d 559 (2001).

Ind.—LaFrenz v. Lake County Fair Bd.. 172 Ind. App. 389, 360 N.E.2d 605 (1977).

Mass.—Vallone v. Donna, 49 Mass. App. 330, 729 N.E.2d 648 (2000). Zavras v. Capeway
Rovers Motorcycle Club, 44 Mass. App. 17, 687 N.E.2d 1263 (1997).

N.M.—-Conant v. Rodriguez, 113 N.M. 513, 828 P.2d 425 (N.M. Ct App. 1992).

N.Y.—-Sommer v. Federal Signal Corp.. 79 N.Y.2d 540, 593 N.E.2d 1365, 583 N.Y.S.2d
952 (1992).

Ohio—Pippin v. M.A. Hauser Enters., Inc.. 111 Ohio App. 3d 557, 676 N.E.2d 932 (1996),

See also Restatement (Second) of Contracts § 195 (1981).

Some states forbid exculpatory provisions regarding the actor’s own negligence. See, e.g.
Spath v. Dillon Enters.. Inc., 97 F. Supp. 2d 1215, 1218 (D. Mont. 1999) (°’Montana law
prohibits exculpatory phrases contained in contracts.”).

2 See Lynch v. Santa Fe Nat'l Bank, 97 N.M. 554, 558, 627 P.2d 1247, 1251 (N.M. Ct
App. 1981) (quoting Southwestern Public Serv. Co. vy, Artesia Alfalfa Growers’ Ass’n, 67
NLM. 108, [18.353 P.2d 62, 69 (N.M. Ct. App. 1960)):

455
Case 2:10-md-02179-CJB-DPC Document 4457-52 Filed 117

§ 85.18 CONTRACTS CONTRARY TO PUBLIC POLICY Pt 8

Courts have had no difficulty concluding that common carriers offer 4
public service such that exculpatory agreements relating to the service are
unenforceable. Courts have held that in any bargain to render service as
a common carrier for compensation, a provision for exemption from liability
for negligence of the carrier or its servants is contrary to public policy and
unenforceable.3 Such a provision tends to lower the standard of care below

Under this limitation the courts are in complete accord in holding that a public service
corporation, or a public utility such as an electric company, cannot contract against
its negligence in the regular course of its business. or in performing one of its duties
of public service, or where a public duty is owed, or where a public interest is involved.

See also Restatement (Second) of Contracts § 195 (1981): Restatement (Second) of Torts
§ 496B emt. g (1965).

3 See, e.g.:

U.S.—Boston & M. R.R. v. Piper, 246 U.S. 439, 38 S. Ct. 354, 62 L. Ed. 820 (1918);
The Kensington, 183 U.S. 263, 22 S. Ct. 102, 46 L. Ed. 190 (1902); New York Cent. Ry.
v. Lockwood, 84 U.S. 357, 21 L. Ed. 627 (1873); Shippers Nat'l Freight Claim Council,
Inc. v. LC.C., 712 F.2d 740 (2d Cir. 1983); Air Transport Assocs. v. United States, 221
F.2d 467 (9th Cir. 1955) (the United States, maintaining the only airfield at Anchorage,
Alaska. permitted a commercial airline carrying passengers and freight to use the field for
compensation under a written contract expressly exempting the defendant from liability for
negligence in operating the field, the court heid the exemption provision to be unenforceable
because running the airfield was a public enterprise involving passengers and freight);
Sassaman v. Pennsylvania R.R., 144 F.2d 950 (3d Cir. 1944); Indemnity Ins. Co. v. Pan
American Airways, 58 F. Supp. 338 (S.D.N.Y. 1944). The Finland, 35 F.2d 47 (E.D.N.Y.
1929).

Colo.—Otis Elevator Co. v. Maryland Casualty Co., 95 Colo. 99, 107, 33 P.2d 974, 977
(1934). The court held an agreement by a building company to indemnify the elevator
company against claims for injuries arising out of use of the elevator unenforceable because
“the public was concerned with the security of such of its citizens as would use the elevator.”
The building company could insure itself against liability for the negligence of the elevator
company. even though the “citizens” suffered the injuries. The court treated the elevator
company the same as a common carrier.

{l.—Kopta v. Greer Shop Training, 327 Ill. App. 470, 64 N.E.2d 570 (1946) (the entity
obligated to provide elevator service in a building is a common carrier and cannot limit
tort liability by contract).

N.Y.—-Clairol Inc. v. Moore-McCormack Lines, Inc., 79 A.D.2d 297, 436 N.Y.S.2d 279,
287 (1981) (quoting F.A. Straus & Co. v. Canadian Pac. Ry., 254 N.Y. 407. 411-12, 173
N.E. 564, 566-67 (1930)):

The Court noted that where the United States Congress has not acted so as to impose
uniformity on the federal and state courts. the courts of this State continue to follow
their early decisions, and enforced agreements exempting common carriers from liability
for negligence, “{a]lthough the United States courts and the courts of most of the States
adhered to the Federal rule.” (Id.. at pp. 411-12, 173 NLE. at 566). It was then noted
that the historical evolution of the policy of New York State has brought it into
conformance with the Federal rule “‘to the effect that contracts which purport to totally
exempt . . . from liability for negligence are against the public policy of the State and

456

Page 3 of 18

Ch. 85 TO DEFRAUD

that required by the put
policy. So strong is this
a provision even when t
by a foreign carrier to

Courts have held en:
gains for the rendering
indirect, or for some Pp
service. Thus, courts |
carrier and passenger
enforced exculpatory a
warehouseman, or in c
building on the carrier

the early cases, which
of the State when mac

N.C.-—Hill v. Carolina F

Ohio—Jacob v. Pennsyl'
a contract between an eXF
regarded as a passenger, an
liability for its negligence.

Okla.—-Western Union ”
(1951).

4 See Oceanic Steam Nas
was for exemption unless nc
While the giving of notice
liability, three days was he
the law of England should
not to be against public pc
a citizen of the United St

For English law, see H:
Rowntree, [1894] A.C. 21

See also The Kensingto
held that a provision that
the United States when it

5 See, e.g.

U.S.—Francis v. South:
New York Cent. Ry. v. Me
Pac. Ry. v. Adams, 192
Disaster, 86 F.3d 498 (61
F.2d 814 (6th Cir.), cert.
Corp., 756 F. Supp. 863 (1
422 (E.D. Mich. 1989); :

Okla.—Missouri. K. 4

6 See, e.g.:

U.S.—Santa Fe P. &
Case 2:10-md-02179-CJB-DPC Document 4457-52 Filed 11/01/11 Page’

Ch. 85 TO DEFRAUD OR OTHERWISE INJURE THIRD PERSONS § 85.18

that required by the public interest. Thus, such a provision violates public
policy. So strong is this belief that one court refused enforcement of such
a provision even when the provision was contained in a bargain for service
by a foreign carrier to be rendered wholly outside of the United States.4

Courts have held enforceable exculpatory provisions contained in bar-
gains for the rendering of service wholly without compensation, direct or
indirect, or for some performance that is not within the ambit of public
service. Thus, courts have enforced exculpatory agreements between a
carrier and passengers riding on free passes.5 Likewise, courts have
enforced exculpatory agreements in contracts for service exclusively as a
warehouseman, or in contracts granting permission to erect or maintain a
building on the carrier’s right of way.®

the early cases, which expressed a different view and represented the public policy
of the State when made, have been superseded.” (Id. at p. 413, 173 N.E. 567).

N.C.——Hill v. Carolina Freight Carriers Corp., 235 N.C. 705, 71 S.E.2d 133 (1952).

Ohio—Jacob v. Pennsylvania R.R., 203 F.2d 290 (6th Cir. [953) (by the law of Ohio,
a contract between an express agent, riding without payment of fare, but nevertheless
regarded as a passenger, and the railroad carrying the passenger, exempting the carrier from
liability for its negligence, is unenforceable).

Okla.— Western Union Tel. Co. v. Jordan Petroleum Co., 205 Okla. 452, 238 P.2d 820
(1951).

4 See Oceanic Steam Navigation Co. v. Corcoran, 9 F.2d 724 (2d Cir. 1925). The provision
was for exemption unless notice of injury should be given within three days from debarkation.
While the giving of notice within a reasonable time may properly be made a condition of
liability, three days was held to be an unreasonably short time. The bargain provided that
the law of England should be applicable. English courts of the time held such provisions
not to be against public policy. The parties made the bargain in Boston and one party was
a citizen of the United States.

For English law, see Hood v. Anchor Line, [1918] A.C. 837: Richardson, S. & Co. v.
Rowntree, [1894] A.C. 217: Parker v. South Eastern R. Co., L.R. 2 C.P. 416 (C.A.).

See also The Kensington, 183 U.S. 263, 22 S. Ct. 102, 46 L. Ed. 190 (1902) (the Court
held that a provision that the law of Belgium should govern would not be enforceable in
the United States when its application conflicts with notions of public policy).

5 See, e.g.

U.S.—Francis v. Southern Pac. Co., 333 U.S. 445, 68 S. Ct. 611, 92 L. Ed. 798 (1948);
New York Cent. Ry. v. Mohney, 252 U.S. 152, 40 S. Ct. 287, 64 L. Ed. 502 (1920); Northern
Pac. Ry. v. Adams, 192 U.S. 440, 24 S. Ct. 408, 48 L. Ed. 513 (1903); In re Air Crash
Disaster, 86 F.3d 498 (6th Cir. 1996); Thompson v. National R.R. Passenger Corp., 621
F.2d 814 (6th Cir.), cert. denied, 449 U.S. 1035 (1980); Keyes v. National R.R. Passenger
Corp., 756 F. Supp. 863 (E.D. Pa. 1991); Morris v. Northwestern Airlines, Inc., 737 F. Supp.
422 (E.D. Mich. 1989); Sassaman v. Pennsylvania R.R., 144 F.2d 950 (3d Cir. 1944).

Okla.—Missouni, K. & T. Ry. v. Zuber, 76 Okla. 146, 184 P. 452 (1919).

6 See, e.g.:

U.S.—Santa Fe P. & P. Ry. v. Grant Bros. Constr. Co., 228 U.S. 177, 33 S. Ct. 474,

457

Case 2:10-md-02179-CJB-DPC Document 4457-52 Filed 11/01/1-

§ 85.18 CONTRACTS CONTRARY TO PUBLIC POLICY Pt. 8

(Text continued on page 459)

57 L. Ed. 787 (1913): Hartford Fire Ins. Co. v. Chicago. M. & St. P. Ry.. 175 U.S. 91,
20 S. Ct. 33, 44 L. Ed. 84 (1899); Minneapolis-Moline Co. v. Chicago, M. & St. P. Ry.,
199 F.2d 725 (8th Cir. 1952): Michigan Millers Mut. Fire Ins. Co. v. Canadian N. Ry..
152 F. 2d 292 (8th Cir. 1946); Franklin Fire Ins. Co. v. Chesapeake & O. Ry.. 140 F.2d
898 (6th Cir. 1944): Aetna Ins. Co. v. Atlantic Coast Line Ry.. 79 F.2d 463 (4th Cir. 1935);
cert. denied, 297 U.S. 704 (1936), Westre v. Chicago, M. & St. P. Ry., 2 F.2d 227 (8th
Cir. 1924); In re Wechsler. 121 F. Supp. 2d 404, 434 (D. Del. 2000) (quoting Santa Fe
P. & P. Ry. v. Grant Bros. Constr. Co., 228 U.S. 177, 33 S. Ct. 474, 57 L. Ed. 787 (1913)).

As the Santa Fe Court, 288 U.S. at 185, 33 S. Ct. at 477, 57 L. Ed. at 791, continued:

[T]his rule has no application when a. . . company is acting outside the performance
of its duty as a common carrier. In such case, it is dealing with matters involving
ordinary considerations of contractual relation; those who choose to enter into
engagements with it are not at a disadvantage: and its stipulations even against liability
for its own neglect are not repugnant to the requirements of its public service. The
rule extends no further than the reason for it, It is apparent that there may be special
engagements which are not embraced within its duty as a common carrier, although
their performance may incidentally involve the actual transportation of persons and
things, whose carriage in other circumstances might be within its public obligation.

Ala.—Great 5. R.R. v, Sumter Plywood Corp., 359 So. 2d 1140 (Ala. 1978) (the court
determined that the matter before it did not fit the exception); McKinney v. Mobile & O.
R.R., 215 Ala. 101, 109 So. 752 (1926).

Ill.—-Bartee Tie Co. v. Jackson, 281 Ill. 452, 117 N.E. 1007 (1917): Checkley v. Illinois
Cent. R.R., 257 Ill. 491, 100 N.E. 942 (1913).

Mass.—New York, N.H. & H. R.R. v. Walworth Co.. 340 Mass. 1, 162 N.E.2d 789 (1959);
New York Cent. R.R. v. Wm. Culkeen & Sons Co.. 249 Mass. 71, 144 NE, 96 (1924).
Porter v. New York, N.H. & H. R.R., 205 Mass. 590, 91 N.E. 875 (1910).

Mich.—Klann v. Hess Cartage Co., 50 Mich. App. 703, 214 N.W.2d 63 (1973). Mann
v. Pere Marquette R.R., 135 Mich. 210, 97 N.W. 721 (1903).

Minn.—Northern Pac. Ry. v. Thornton Bros. Co., 206 Minn. 193, 288 N.W. 226 (1939).

Neb.—Luedeke v. Chicago & N.W. Ry., 120 Neb. 124, 231 N.W. 695 (1930).

N.J.—-Township of Hillside v. Lehigh Valley R.R., 96 NJ. Super. 167, 232 A.2d 683
(1967) (the township built a footbridge over the railroad track: the railroad was negligent
and the footbridge was destroyed: the township had agreed not to hold the railroad responsible
for negligence, and the court enforced the exculpatory provision because the railroad was
not acting as a carrier in relation to the footbridge matter).

Pa.—Rundell & Co. v. Lehigh Valley R.R., 254 Pa. 529, 98 A. 1054 (1916).

Tenn.—Carolina, C. & O. Ry. v. Unaka Springs Lumber Co., 130 Tenn, 354, 170 S.W.
591 (1914).

Wis.—-Frederick v. Great N. Ry., 207 Wis. 234, 240 N.W, 387 (1932).

See also Robinson Ins. & Real Estate Inc. v. Southwestem Bell Tel. Co., 366 F. Supp.
307 (W.D. Ark. 1973). In Georges v. Pacific Tel. & Tel. Co., 184 F. Supp. 571 (D. Or.
1960), the plaintiff contracted for an advertisement of a phone number in the yellow pages
of the telephone directory. The defendant printed it erroneously. The advertising contract,
however, expressly limited the company’s liability in damages for such an error to a
proportionate part of the amount paid for the advertisement. The court held the limitation
valid, even though the defendant was engaged in public service with a lawful monopoly,

458

é65o0f18

Ch. 85 TO DE

A common ca
limitation on the
property caused t
offers to render i
The party contrac
two forms of lial
form of an agreec
Such a limitation
offered is an imp

Courts in the |
somewhat in eva
exculpatory conti
cases indicate, ea
notion of what s¢
was obviously a
exculpatory cont
convinced the cot
service. Modern c
cases, but do use
issue, Courts toda
analysis, whether
snow-skiing estab
relationship with

A commonly us
suitable for publi
public service? Tt
within standardize
over the person s
there a decisive i
provision a part o

for the reason that the
to limit liability for n
7 See, e.g.:
U.S.—Union Pac. |
Adams Express Co. °
Polyplastics, Inc. v. T
The agreernent mus
delivered at point of
purpose of reducing |
See The Ansaldo S
L. Ed. 1016 (1935).
8 See, e.g., The Ke
9 See:

Case 2:10-md-02179-CJB-DPC Document 4457-52 Filed 11/01/11 Pagé

Ch. 85 TO DEFRAUD OR OTHERWISE INJURE THIRD PERSONS § 85.18

A common carrier or other public servant can lawfully bargain for a
limitation on the amount for which it shall be liable in case of harm to
property caused by negligence, provided that, at the same time, the carrier
offers to render its service at a reasonable rate without such a limitation.”
The party contracting for the service must be given a choice between the
two forms of liability and the two rates. Usually the limitation is in the
form of an agreed valuation of the property entrusted to the public servant.
Such a limitation of liability is ineffective if the only alternative agreement
offered is an improper and unenforceable one.8

Courts in the last years of the twentieth century shifted their analysis
somewhat in evaluating the applicability of the ban on enforcement of
exculpatory contracts for public services. As the earlier common carrier
cases indicate, early courts’ views focused on the traditional and narrow
notion of what sort of business was a public servant. A common carrier
was obviously a public servant, and thus the courts did not enforce
exculpatory contracts of common carriers. unless the common carrier
convinced the court that the exculpatory agreement did not involve public
service. Modern courts would not reach a different result in common carrier
cases, but do use a more expansive analysis to decide the public service
issue. Courts today are likely to subject any exculpatory clause to the same
analysis, whether in a common-carrier situation or a situation involving a
snow-skiing establishment. The analysis focuses largely on the business’s
relationship with the public.

A commonly used form of the analysis has six factors. First, is the activity
suitable for public regulation? Second, is the thing offered an important
public service? Third, is the service provided to any member of the public
within standardized parameters? Fourth, does the business maintain control
over the person seeking the service or the property to be used? Fifth, is
there a decisive inequality of bargaining power? Sixth, is the exculpatory
provision a part of a contract of adhesion?9 Courts using this analysis do

for the reason that the advertising contract was merely private business and not an attempt
to limit liability for negligence in the performance of its public service.

7 See, e.g.

U.S.—Union Pac. R.R. v. Burke, 255 U.S. 317. 41 S. Ct. 283, 65 L. Ed. 656 (1921);
Adams Express Co. v. Croninger, 226 U.S. 491, 33 S. Ct. 148, 57 L. Ed. 314 (1913);
Polyplastics, Inc. v. Transconex, Inc., 827 F.2d 859 (Ist Cir. 1987).

The agreement must be a valuation in good faith of the goods as they should have been
delivered at point of destination and not a valuation as of the point of shipment for the
purpose of reducing liability.

See The Ansaldo San Giorgio I v. Rheinstrom Bros., 294 U.S. 494, 55 S. Ct. 483, 79 :
L. Ed. 1016 (1935). L
8 See, e.g., The Kensington, 183 U.S. 263, 22 S. Ct. 102, 46 L. Ed. 190 (1902).

9 See:

459

Case 2:10-md-02179-CJB-DPC Document 4457-52 Filed 11/01/11 Pag 18

§ 85.18 CONTRACTS CONTRARY TO PUBLIC POLICY Pt. 8 Ch. 85
not require affirmative answers to all six questions in order to find an order for
exculpatory agreement to be contrary to public policy. But the second all six fe
factor—whether the service offered is an important public service—is to public
particularly relevant. 1° in a case
An excellent example of this analysis is a case involving an exculpatory enforcea
provision a public school required students and their parents to accept in Recre
Alaska—Moore v, Hartley Motors, Inc.. 36 P.3d 628 (Alaska 2001) (the court applied Regar
the six factors applied to an exculpatory provision involving an all terrain vehicle safety :
course and concluded that the provision was enforceable), question
Cal.—Tunkl v. Regents of Univ, of Cal., 60 Cal. 2d 92, 98. 383 P.2d 441, 32 Cal. Rptr. recreatlo
33 (1963): Provisiol
Thus the attempted but invalid exemption involves a transaction which exhibits some snow ski
or all of the following characteristics. It concerns a business of a type generally thought activities
suitable for public regulation. The party seeking exculpation is engaged in performing
a service of great importance to the public, which is often a matter of practical necessity 11 Wag
for some members of the public. The party holds himself out as willing to perform 12 Chau
this service for any member of the public who seeks it. or at least for any member See also f
coming within certain established standards. As a result of the essential nature of the all-terrain
service, in the economic setting of the transaction, the party invoking exculpation advantage
possesses a decisive advantage of bargaining strength against any member of the public 13 See,
who seeks his services, In exercising a superior bargaining power the party confronts U.S.C
the public with a standardized adhesion contract of exculpation, and makes no provision v. Mid. A
whereby a purchaser may pay additional reasonable fees and obtain protection against Ark.—I
negligence. Finally, as a result of the transaction, the person or property of the purchaser .
is placed under the control of the seller, subject to the risk of carelessness by the seller oo
or his agents. (2000).
Fla.—Goeden v. CM IH, Inc., 756 So. 2d 1105 (Fla. Dist. Ct. App. 2000) (the court applied 14 See.
the six factors to a motorcycle school exculpatory provision and found the provision Or.—H
enforceable), Wash.~
Ga.—Porubiansky v. Emory Univ., 156 Ga. App. 602, 275 S.E.2d 163 (1980), aff'd. 248 383 (2001
Ga. 391, 282 $.E.2d 903 (1981). But see
Tenn.—Olson v. Molzen. 558 S.W.2d 429 (Tenn. 1977). that snow
Wash.—Wagenblast v. Odessa Sch. Dist.. 110 Wash. 2d 845, 758 P.2d 968 (1988) (a 15 See,
public school required student to release the school from lability as a condition to 16 See,
participating in interscholastic sports; the court found the provision unenforceable); (Ariz. Ct.
Chauvalier v. Booth Creek Ski Holdings, Inc., 109 Wash. App. 334, 35 P.3d 383 (2001) 17 See.
(an exculpatory provision relating to snow skiing was enforceable), 18 See,
W. Va.—kKyriazis v. University of W. Va., 192 W. Va. 60, 450 S.E.2d 649 (1994) (the U.S.—S
court concluded that an exculpatory clause related to playing rugby was unenforceable under enforced a
this test). F. Supp. 2
Another similar approach uses four factors: the existence of a duty to the public, the nature enforceabl
of the service performed, whether the contract was fairly entered into, and whether the Alaska-
intention of the parties is clearly and unambiguously expressed. See: : : that the pr
Colo.—Jones v. Dressel, 623 P.2d 370 (Colo. 1981). Fla.—C
Wyo.—Milligan v. Big Valley Corp., 754 P.2d 1063 (Wyo. 1988). S enforced 2
10 See Chauvalier v. Booth Creek Ski Holdings, Inc., 109 Wash. App. 334, 35 P.3d 383 Md.—S
(2001) (three of the six factors were present but the second factor was not present). : (the court

460

Case 2:10-md-02179-CJB-DPC Document 4457-52 Filed 11/01/11 Page 8 of

Ch. 85 TO DEFRAUD OR OTHERWISE INJURE THIRD PERSONS § 85.18

order for the students to play interscholastic athletics. The court found that
all six factors were present. Thus, the exculpatory provision was contrary
to public policy. 1! In contrast, a court found only three of the factors present
in a case involving a snow-skiing establishment, and thus held the provision
enforceable. 12

Recreational Activities

Regardless of the form of the analysis of the exculpatory clause in
question, courts tend to enforce clauses dealing with participation in
recreational activities, especially obviously risky ones, if the point of the
provision is clear. Courts have upheld provisions relating to car races, 43
snow skiing, !4 ice-skating, !5 roller-skating, +6 skydiving, !7 and other such
activities.!8 Exculpatory provisions for nonrecreational activities receive a

11 Wagenblast v. Odessa Sch. Dist.. 110 Wash. 2d 845, 758 P.2d 968 (1988).

12 Chauvalier v. Booth Creek Ski Holdings, Inc., 109 Wash. App. 334, 35 P.3d 383 (2001).
See also Moore v. Hartley Motors, Inc., 36 P.3d 628 (Alaska 2001) (concluding that an
all-terrain vehicle safety course was not an essential service and therefore no decisive
advantage of bargaining strength existed, the court enforced the provision).

13 See, e.g.:

U.S.--Cadek v. Great Lakes Dragaway, Inc., 843 F. Supp. 420 (N.D. IIL 1994), Wolfgang
v. Mid. American Motorsports, Inc., 898 F. Supp. 783 (D. Kan. £995).

Ark.—-Plant v. Wilbur, 345 Ark. 487, 47 S.W.3d 889 (2001).

Ga.—-Barbazza v. International Motor Sports Ass'n, 245 Ga. App. 790, 538 S.E.2d 859
(2000).

14 See, e.g:

Or.—Harmon v. Mt. Hood Meadows, Ltd., 146 Or. App. 215, 932 P.2d 92 (1997).

Wash.—Chauvalier v. Booth Creek Ski Holdings, inc., 109 Wash. App. 334, 35 P.3d
383 (2001).

But see Dalury v. S-K-I, Ltd., 164 Vt. 329, 670 A.2d 795 (1995) (the court concluded
that snow skiing was of great public interest and refused to enforce the provision).

15 See, e.g., Vallone v. Donna, 49 Mass. App. 330, 729 N.E.2d 648 (2000).

16 See, ¢.g., Benjamin v. Gear Roller Hockey Equip., Inc., 198 Ariz. 462, 11 P.3d 42]
(Ariz. Ct. App. 2000).

17 See, e.g., Scrivener v. Sky’s The Limit, Inc., 68 F. Supp. 2d 277 (S.D.N.Y. 1999),

18 See, e.g.:

U.S.—-Street v. Darwin Ranch, Inc., 75 F. Supp. 2d 1296 (D. Wyo. 1999) (the court
enforced a clause relating to horseback riding); Rose v. National Tracker Pullers Ass'n, 33
F, Supp. 2d 757 (W.D. Wis. 1998) (an exculpatory provision relating to a tractor pull was
enforceable),

Alaska—Moore v. Hartley Motors, Inc., 36 P.3d 628 (Alaska 2001) (the court concluded
that the provision applying to an all terrain vehicle safety class was enforceable).

Fla.—Goeden v. CM Ul, Inc., 756 So. 2d 1105 (Fla. Dist. Ct. App. 2000) (the court
enforced a provision relating to a motorcycle riding school).

Md.—Seigneur v. National Fitness Inst., Inc., 132 Md. App. 271, 752 A.2d 631 (2000)
(the court enforced a provision relating to fitness activities),

461

Case 2:10-md-02179-CJB-DPC Document 4457-52 Filed 11/01/11 Pa

$ 85.18 CONTRACTS CONTRARY TO PUBLIC POLICY Pt. 8

cooler reception.19 For example, a court has held void an exculpatory
provision in the context of injury in a pre-employment physical examination.
This follows a generally held position that medical services are permeated
by public interest and thus exculpatory provisions relating to medical care
are against public policy.2°

Banking Services

In recent years, courts evaluating exculpatory clauses in the context of
banking services have concluded that many banking activities are public
service oriented. As a consequence, courts have refused to enforce exculpa-
tory clauses involving basic bank services. 2}

N.D.—Reed v. University of N.D., 589 N.W.2d 880 (N.D. 1999) (the court enforced a
provision relating to a foot race).

Ohio-—Finkler v. Toledo Ski Club, 63 Ohio App. 3d 11, 577 N.E.2d 1114 (1989) (the
court enforced a provision relating to a canoe trip).

Tex.—-Newman v. Tropical Visions, Inc. 891 §.W.2d 713 (Tex. Ct App. 1994) (the court
enforced a provision relating to scuba diving).

Wis.—Dobratz v. Thomson. 161 Wis. 2d 502, 468 N.W.2d 654 (1991) (the court enforced
a provision relating to water skiing).

Wyo.—Massengill v. S.M.A.R.T. Sports Med. Clinic, P.C.. 996 P.2d 1132 (Wyo. 2000)
(the court enforced a provision relating to weight lifting).

See generally Mario R. Arango & William R. Trueba, Jr. The Sports Chamber:
Exculpatory Agreements Under Pressure, 14 U. Miami Ent. & Sports L. Rev. | (1997).

19 See. e.g.

Cal.—-Tunkl v. Regents of Univ. of Cal., 60 Cal. 2d 92, 98, 383 P.2d 441, 32 Cal. Rptr.
33 (1963) (the court refused to enforce the provision involving medical treatment).

Gra,---Porubiansky v. Emory Univ., 156 Ga. App. 602, 275 $.E.2d 163 (1980), aff'd, 248
Ga. 391, 282 S_E.2d 903 (1981).

N.Y.—Ash v. New York Univ. Dental Ctr., 164 A.D.2d 366, 564 N.Y.S.2d 308 (1990).

Wash.—-Vodopest v. MacGregor. 128 Wash. 2d 840, 913 P2d 779 (1996).

20 See Eelbode v. Chec Medical Ctrs., Inc., 97 Wash. App. 462, 984 P.2d 436 (1999),
Applying the six-factor analysis, the court concluded that physical therapy was regulated
and pre-employment physicals were of public importance. The entity seeking enforcement
of the exculpatory provision offered the service 10 anyone seeking it. The court noted that
the entity had a decisive advantage in bargaining strength and used it to form an adhesion
contract. Finally, the patient was under the control of the entity during the exam. The court
thus refused to enforce the provision.

21 See UCC $§ 4-103 (1), 4-403 emt. 8.

See also:

N.H.—Cambridge Trust Co. v. Carney, 115 N.H. 94, 333 A2Qd 442 (1975).

N.J.—Hy-Grade Oil Co. v. New Jersey Bank, 138 NJ. Super. 112, 350 A.2d 279 (1975),

N.¥.--Grace v. Sterling, Grace & Co., 30 A.D.2d 61, 289 N.Y.S$.2d 632 (1968).

Pa.--Thomas vy. First Nat'l Bank, 376 Pa. 181. LOL A.2d 910 (1954),

Exculpatory provisions regarding stockbrokers receive different treatment. See. e.g.. Wolf
v. Ford, 335 Md. 525, 644 A.2d 522 (1994),

462

18

Ch. 85 TC

Bailment

Historical
a bailee as «
offering a pu
from the spe
different tre:
Uniform W
Uniform Co;

22 See. 2.g.:
U.S.—Hall-s
314 US. 690 -
Ala.—Ex pa
a parking lot).
Colo.—Den’
Neb.—Gesf:
exemption as
facilities).
N.C.—Jorda
Okla.—Fisk
Or.—Voyt °
v. Tip-Top Au
Wash.—Spc
a safe deposit
23 See. e.g.:
U.S.—Inters
valid except as
Ry., 58 F. Sug
was acting as
Cal.—North
P. 934 (1921)
D.C.—Manl
apphed to laut
Mich.—-Mic
566 N.W.2d 7
N.Y.—Uribi
(1998) (the ca

Ohio—Coll
(1993).

R.L——Rhod:
1992).

Tex.— Eller
case involved

Case 2:10-md-02179-CJB-DPC Document 4457-52 Filed 11/01/11 Page 10 of 18°

Ch. 8S PO DEFRAUD OR DOTHERWISE INIURE THIRD PERSONS SSSI

Bailment

Historically. bailees have received mixed treatment. Some courts view
a bailee as offering a public service.#2 Other courts view a bailee as not
offering a public service.23 OF course, many of these conclusions may result
from the specific context of the bailment before the court. fm addition, the
different treatment may be based on statutory provisions. For example. the
Uniform Warehouse Receipts Act. in effect in some states before the
Uniform Commercial Code came into existence, prohibited exemption from

22 Seen on!

U.S. Hall-Seont Motor Car Co. v. Universal Ins. Co. 122 Fo2d 53h 19th Cir, cert. denied,
S14 US. O90 C1941),

Adak TN parte Mobile Light & ROR OEE Ala. 328. 101 So. 1772 1924) tthe case involved
a parking low.

Colon Denver Union Terminal Ry. v. Cullinan, 72 Colo. 248. 210 P. 602 (1922).

Neb.--Gesford vy. Star Van & Stormge Co. 104 Neb. 453. 177 NOW, 794 61920) Cap
exemption as co loss by freezing was valid ina warehouse Known to have no heating
faciities)

N.C.-—Jordan vo Eastern Transit & Storage Co.. 266 N.C. 156. 146 SE 2d 43 ¢ 1966).

Okla—Pisk v. Bullard. 208 Okla. 302. 239 Pdd 424 E1951)

Or. Voyt ve Bekins Moving & Storage Co. 169 Or, 30, FEO P.2d S86 (19419: Pilson
Vv. Tip-Top Aato Co.. 67 Or, S28. 136 Po 642 (1913),

Wash.--Sporsem v. First Nacl Bank, 133 Wash, 199, 2332. 641 (19251 (the case tivelved
aosile deposit box).

23 See. ey:

U.S.-—-Interstate Compress Co. v Agnew. 255 F. S08 8th Cir, 1919) tthe pravision was
vahd except as to gross nevhvences: Michigan Millers Mut. Fire las. Ca. o. Canadian N.
Ry. S8 b. Supp. 3260 ¢D. Minn. 1044 afd. P52 bo2d 292 e8th Cir P9458) Ghe radroud
Was acting as a eearchouse man),

Cal.---Noethwestern Mut. Fire Assn v, Pacific Whad? & Storage Co. 187 Cal 38. 200
P. O34 C1927) Che exculpatory provision applied to dumber piled on a wharf).

bC.--Manhatian Co. v. Goldberg. 38 A.2d 172 €D.C. 194-4) the exculpatory provision
apphed to laundry),

Micho-—Michigan Natl Bank vo St. Pant Pire & Marine dns. Co. 223 Mich App. 19.
S66 NW 7 C1997) (the case invelved a sate deposit box).

N.Y.— Uribe v. Merchants Bank. 91 NLY.2d 336, 693 Nobo 2d 740. 670 NY S.2d 393
11998) Cthe case involved a sate deposit box),

Ohio—-Collins ¥. Click Camera & Video, Ine. 86 Ohio App. 3d 826. 621 NEo2d 1294
(1993).

R.Pe--Rhode fslind Hosp. Trust Natl Bank v. Dudley Serv. Corp.. 605 A2d 1325 @RoL
1992),

Texefller v. NationsBank of Texas, NAL 975 S.W od 803 thes. Ct App. 1998) (the

ease mvelved a sate deposit box).

463
Case 2:10-md-02179-CJB-DPC Document 4457-52 Filed 11/01/11 Pag

$ 85.18 CONTRACTS CONTRARY TO PUBLIC POLICY Pr. 8

liability for negligence. 24 The Uniform Commercial Code, however, allows
exculpatory provisions. 25

Employment

The treatment of exculpatory provisions relating to employment is a bit
different. Courts have long recognized that an employer cannot bargain for
exemption from liability for harm to an employee caused by negligence.26
This is due in part to specific statutory enactments. Even in absence of
statutes, the pressure of social opinion has made the unenforceability of
exculpatory provisions the common law tule.

Leases

Exculpatory clauses in leases may be enforceable.27 A provision in a
lease exempting the lessor from liability for loss due to lack of repair is
not rendered invalid by expressly including harm caused by the negligence
of the landlord or the landlord’s employees.28 Of course, a tenant can

24 See Uniform Warehouse Receipts Act § 3.

25 See UCC § 7-204.

26 See Restatement (Second) of Contracts § 195 (1981).

But see Lawrence v. CDB Servs., Inc., 44 $.W.3d 544 (Tex. 2001).

See also Etu v. Fairleigh Dickinson Univ. West Indies, 635 F. Supp. 290 (D.V.1. 1986).
In Oregon Portland Cement Co. v. E.l. Du Pont de Nemours & Co., 118 F, Supp. 603 (D.
Or. 1953), the defendant gratuitously supplied one of its experts to the plaintiff to aid in
blasting operations. The plaintiff expressly agreed that in so acting the expert should be
acting as its own employee and the defendant should be wholly indemnified as to liability
for injuries. The court held the agreement valid.

27 See, e.g., Topp Copy Prods., Inc. v. Singletary, 533 Pa. 468, 626 A.2d 98 (1993),

See generally William K. Jones, Private Revision of Public Standards: Exculpatory
Agreements in Leases, 63 N.Y.U.L. Rev. 717 (1988).

28 See, e.g.:

Cal.—Mills v. Ruppert, 167 Cal. App. 2d 58, 333 P.2d 818 (1959): Inglis v. Garland.
19 Cal. App. 2d Supp. 767, 64 P. 2d 501 (Cal. Super. Ct. 1936).

{nd.—Franklin Fire Ins. Co. v. Noll, 115 Ind. App. 289, 58 N.E.2d 947 (1945).
Ky.—Cobb v. Gulf Refining Co., 284 Ky. 523, 145 §.W.2d 96 (1940).

La.—Roppolo v. Pick, 4 So. 2d 839 (La. Ct. App. 1941); Pecararo v. Grover, 5 La. App.
676 (1927).

Mass.—-Levins v. Theopold, 326 Mass. 511, 95 N.E.2d 554 (1950); Clarke v. Ames, 267
Mass. 44, 165 N.E. 696 (1929),

Minn.—Weirick v. Hamm Realty Co., 179 Minn. 25, 228 N.W. 175 (1929),

Mo.—Gralnick v. Magid, 292 Mo. 391, 238 S.W. 132 (1921).

N.J.—Wade v. Park View, Inc., 25 N.J. Super. 433, 96 A.2d 450, aff'd, 27 NJ. Super.
469, 99 A.2d 589 (1953) (the court held that the rule applicable to common carriers did

464

of 18

Ch. 85

contract tec
for not rey
whatever :
to be boun
for consec
duties. 29

Admiral

Courts
if the exci

not apply tot
were housed
N.Y.—Hi
exemption tt
91 A.D.2d 4
Pa.-—Mar
307 Pa. 31.
But see
N.H.— Pa;
tl.—Cerr
court refuse
construction
lowa—Se
See also:
N.J.—Ku:
provided tha
to the tenant
alleged that
allegations i
to enforce th
court noted ;
that a housi:
N.Y.—Ki
245, 247 (it
a loss arisin
are not matt
29 See:
Calk.-—Mi
that the less:
all claims fc
to goods cat
held that th:
Nh.—O’C
(the court h
housing sho

Case 2:10-md-02179-CJB-DPC Document 4457-52 Filed 11/01/11 Page 12 of 1

Ch. 85 TO DEFRAUD OR OTHERWISE INJURE THIRD PERSONS § 85.18

contract to make all repairs. A landlord who provides against all lability
for not repairing can scarcely be said to have undertaken any legal duty
whatever as to repairs. On the other hand, a landlord may contract so as
to be bound to make and to pay for repairs and yet be exempt from liability
for consequential injuries caused by the landlord’s failure to perform
duties. 29

Admiralty

Courts have not enforced exculpatory agreements in the admiralty context
if the exculpatory provision relates to towage matters. {In Bisso v. Inland

not apply to the business of carrying on a multiple-apartment house even though 3,500 people
were housed).

N.Y.—Hirsch v. Radt. 228 N.Y. 100, 126 NE. 653 (1920) (the court held valid an
exemption that applied in absence of written notice of the defect); Vanderhoff v. Casler,
91 A.D.2d 49, 458 N-Y.S.2d 289 (1983).

Pa.—-Manius v. Housing Auth., 350 Pa. 512, 39 A.2d 614 (1944); Cannon v. Bresch,
307 Pa. 31, 160 A. 598 (1932).

But see

N.H.-~Papakalos v. Shaka, 91 N.H. 265, 18 A.2d 377 (1941).

Ill.—Cerny Pickas & Co. v. C.R. Jahn Co., 347 fl. 379. 106 N.E.2d 828 (1952) (the
court refused to enforce an exemption from liability for injury caused by the lessee’s
construction on the premises in direct violation of a city ordinance).

lowa—Sears. Roebuck & Co. v. Poling, 248 fowa 582, 81 N.W.2d 462 (1957).

Sve also:

N.J.—Kuzmiak v. Brookchester, Inc., 33 NJ. Super. 575. 111 A.2d 425 (1955), A lease
provided that the landlord should under no circumstances be liable for any loss or damage
to the tenant “however such loss or damage may arise.” The plaintiff fell down stairs and
alleged that this was due to the negligence of the landlord. The court held that on these
allegations it was error to enter a summary judgment for the landlord. The court refused
to enforce the exculpatory provision because it encompassed intentional or willful acts. The
court noted also that apartment houses have been made the subject of safety regulation and
that a housing shortage had reduced the tenant's bargaining power.

N.Y¥.—Kirshenbaum v. General Outdoor Advertising Co., 258 N.Y. 489, 495, 180 NUE.
245, 247 (1932) (Stipulations between landlord and tenant, determining which shall bear
a loss arising from nonrepair or misrepair of the tenement, and which shall be immune,
are not matters of public concern. Moreover, the two stand upon equal terms.”).

29 See:

Cal.—Mills v. Ruppert, 167 Cal. App. 2d 58, 333 P.2d 818 (1959). A lease provided
that the lessor should keep roofs and exterior walls in repair. but also that the lessee waived
all claims for damages to goods “trom any cause.” The lessee claimed damages for injuries
to goods caused by the lessor’s breach of the covenant to keep the walls in repair. The court

held that the exculpatory provision was valid as a defense.

H.—O Callaghan v. Waller & Beckwith Realty Co.. 15 HHI 2d 436. 155 N_E.2d 545 (1959)
(the court held that the provision was not against public policy, even though a prevailing
housing shortage put the lessors in a much superior bargaining position).

465

Case 2:10-md-02179-CJB-DPC Document 4457-52 Filed 11/01/11

3 85.18 CONTRACTS CONTRARY TO PUBLIC POLICY Pt. 8

Waterways Corp.,3° a barge, while being towed by a tug, collided with a
bridge pier and sank. The negligence of the tug was the recognized cause
of the loss of the barge. The towing contract provided that the towing
movement should be at the “sole risk” of the barge and that the masters,
crews, and employees of the tug should be considered the servants of the
barge for the purposes of the tow service. The court held that these
provisions were contrary to public policy in that they purported to relieve
the tug owner from liability for negligence in the performance of the towing
contract. There was no statute on the point. The tug was not a common
carrier. The court declared the rule as necessary to discourage negligence
in the field of towage and to prevent tug owners from overreaching those
in need of towage. The result of the rule is that the cost of the insurance
will be borne by those who employ the tug. 31

Courts have enforced exculpatory provisions relating to ship repair.32
Many of these courts will not enforce such provisions if they absolve the
actor of all liability. 33

Machinery and Equipment

In general, parties can agree to exculpatory provisions relating to the
installation or service of machinery and equipment. 34 Any disclaimer of.

30 349 U.S. 85, 75 S. Ct. 629, 99 L. Ed. 911 (1955).

31 The Bisso decision is effectively analyzed and criticized in Note, Unconscionable Busi-
ness Contracts: A Doctrine Gone Awry, 70 YALE LJ. 453 (1961).

32 See Royal Ins. Co. v. Southwest Marine, 194 F.3d 1009 (9th Cir. 1999); Arcwel Marine,
Inc. v. Southwest Marine, Inc., 816 F.2d 468 (9th Cir, 1987), cert. denied, 484 U.S. 1008
(1988); M/V American Queen v. San Diego Marine Constr. Corp.. 708 F.2d 1483. [488
(9th Cir. 1983) (“It is well settled that in admiralty law, the parties to a repair contract may
validly stipulate that the shipowner is to assume all liability for damage occasioned by the
negligence of the shipyard.”).

33 See, ¢.g., La Esperanza de P.R., Inc. v. Perez y Cia. de Puerto Rico, Inc., 124 F.3d.
10, 19 (1st Cir. 1997) (*[C]ourts today will enforce red letter clauses that are expressed
clearly in contracts entered into freely by parties of equal bargaining power, provided that
the clause does not provide for a total absolution of liability.”).

34 See, e.g.:

U.S.— Sinclair Refining Co. v. Stevens, 123 F.2d 186 (8th Cir. 1941), cert. denied, 315
U.S. 804 (1942).

lowa—Weik v. Ace Rents, 249 Iowa 510, 87 N.W.2d 314 (1958) (the plaintiff rented
a power lawn mower from the defendant, agreeing to exempt the defendant from all liability
for negligence; the exemption was held valid even as against allegations that the machine
was defective and dangerous).

N.C. —Hall v. Sinclair Refining Co., 242 N.C. 707, 89 S.E.2d 396 (1955) (the court
held that an express provision in a contract between a service station operator anda supplier
exempting the latter from liability for negligence in installation of tank and equipment was
valid; the operator had no action for loss by leakage).

466

Ch. 85 TO I

warranties rega
the disclaimer
the states.35 A
law, 36

Contracts of

In determini:
using the six-fa
whether a contr
factor analysis,
exculpatory prc
have adopted pr
contain broad li
may be printed
agreement. The
terms are on the
Yet the party’s
in fact, have ne
exculpatory prc
agreement does
exculpatory clau
seem tO mean t
substantively co

35 See UCC § 2.
36 See Restateme
“is not affected by ;
his immediate buye
hands”), See also Re
Richard C. Ausness,
From Product Sale:
37 But see Seigne:
(the court enforced
contract was one of
38 See, e.g.:
U.S.—Brooks v. ‘
Ga.— Parkside Cn
557, 562 (2001) (“L
able.”).
Or.—Anderson v

Case 2:10-md-02179-CJB-DPC Document 4457-52 Filed 11/01/11 Page 14

Ch. 85 TO DEFRAUD OR OTHERWISE INJURE THIRD PERSONS § 85.18

warranties regarding the product, however, must be done in accordance with
the disclaimer provisions of the Uniform Commercial Code as enacted by
the states.35 A party cannot contract away liability under product liability
law, 36

Contracts of Adhesion

In determining whether a provision is contrary to public policy, courts
using the six-factor analysis discussed above consider, as one of the factors,
whether a contract is one of adhesion. Even if a court does not use the Six-
factor analysis, this issue is an important one in evaluating whether the
exculpatory provision violates public policy.37 Many commercial entities
have adopted printed form contracts for mass use. These contracts generally
contain broad limitation of liability provisions. These exculpatory provisions
may be printed in fine type on the reverse side of the substance of the
agreement. There may be a statement on the signed page that some of the
terms are on the reverse side and that by signing the signer assents to them.
Yet the party’s attention may not be called to them, and the signer may,
in fact, have no knowledge of them. Courts are wary of enforcing any
exculpatory provision that is part of such an arrangement. Even if the
agreement does not rise to the level of adhesion, courts often state that
exculpatory clauses must be conspicuous to be enforced. By this, the courts
seem to mean that the exculpatory clauses must be physically as well as
substantively conspicuous. 38

35 See UCC § 2-316.

38 See Restatement (Second) of Torts § 402A cmt. m (1965) (a products liability claim
“is not affected by any disclaimer or other agreement, whether it be between the seller and
his immediate buyer, or attached to and accompanying the product into the consumer's
hands”). See also Restatement (Third) of Torts: Products Liability § 18 (1998). See generally
Richard C. Ausness, “Waive” Goodbye to Tort Liability: A Proposal to Remove Paternalism
From Product Sales Transactions, 37 SAN. Disco L. Rev. 293 (2000).

37 But see Seigneur v. National Fitness Inst., Inc., 132 Md. App. 271, 752 A.2d 631 (2000)
(the court enforced a provision relating to fitness activities though it concluded that the
contract was one of adhesion).

38 See, e.g.;

U.S.—Brooks v. Timberline Tours, Inc., 127 F.3d 1273 (10th Cir. 1997).

Ga.—Parkside Ctr., Ltd. v. Chicagoland Vending, Inc.. 250 Ga. App, 607, 612, 552 S.E.2d
557, 562 (2001) (‘Lacking any indicia of prominence, the exculpatory clause is unenforce-
able.”),

Or.—Anderson v. Ashland Rental, Inc., 122 Or. App. 508, 858 P.2d 470 (1993),

§ 35.18 CONTRACTS CONTRARY TO PUBLIC POLICY Pt. 8

Strict Construction of Exception

Even in cases where exemption from liability for negligence is not against
public policy, courts construe the exemption strictly.39 Many cases have
stated that an exemption from liability for loss or damage in general terms
will not be interpreted as an exemption from liability for harm negligently
caused. Many of these courts require that the provision expressly include
the actor’s negligence.4° Other courts acknowledge that the intention to
exclude liability for negligence may be made clear without using the word
“negligence” itself.41 All courts agree that the exculpatory provision cannot

39 See:

Ariz.-Benjamin v, Gear Roller Hockey Equip.. Inc., 198 Ariz. 462, 11 P.3d 421 (Ariz.
Ct. App. 2000).

Kan.—-Belger Cartage Serv. v. Holland Constr. Co., 224 Kan. 320, 582 P.2d 1111 (1978).

Fla —Covert v. South Florida Stadium Corp., 762 So. 2d 938 (Fla. Dist. Ct. App. 2000).

Miss.—-Turnbough v. Ladner, 754 So. 2d 467 (Miss. 2000),

N.Y.—DeVito v. New York Univ. College of Dentistry, 145 Misc. 2d 144, 544 N.Y.S.2d
109 (N.Y. Sup. Ct. 1989),

40 Texas courts refer to the requirement that the word “negligence” be used as the “express
negligence doctrine.” See Eller v. NationsBank of Texas. N.A.. 975 S.W.2d 803 (Tex. CL
App. 1998).

See also:

U.S.—California & Hawaiian Sugar Refining Corp. v. Harris County Houston Shipping
Channel Navigation Dist., 27 F.2d 392 (S.D. Tex. 1928),

Ariz,—Sirek v. Fairfield Snowbowl, Inc., 166 Ariz. 183, 187, 800 P.2d 1291, 1295 (1990)
(“Ef {the defendant] intended to absolve itself from its own negligence, it should have clearly
and explicitly stated so.”).

Del.—-J.A. Jones Constr. Co. v. City of Dover, 372 A.2d 540 (Del. Super. Ct. 1977).

Ind.—Powell v. American Health Fitness Ctr. of Fort Wayne, Inc., 694 N.E.2d 757. 761
(nd. Ct. App. 1998) (“[T]he exculpatory clause must both specifically and explicitly refer
to the negligence of the party seeking release from liability.”).

N.J.—-George M. Brewster & Son v. Catalytic Constr. Co.. 17 NJ. 20, 109 A.2d 805
(1954); Freddi-Gail, Inc. v. Royal Holding Corp.. 34 N.J. Super. 142, 144, 111 A.2d 636,
638 (1955) (“Since the clause does not in plain terms exonerate the landlord from its own
acts of negligence, it does not bar plaintiff's claim here.”).

41 See, e.g.:

U.S.—Street v. Darwin Ranch, Inc.. 75 F. Supp. 2d 1296 (D. Wyo. 1999) (the court stated
that the provision can be clear without using the term “negligence”.

Fire Ass'n of Philadelphia v. Allis Chalmers Mfg. Co., 129 F. Supp. 335 (N.D. Iowa
1955). The contract before the court was one for the manufacture and sale of electrical

equipment. The injury was caused by the seller’s negligence. The court held that such an
exemption or indemnification provision in a “vendor-vendee contract” is not invalid as
against public policy. The court held also that such provisions should be given a fair and
reasonable interpretation, and if, when so interpreted, they indicate an intention to give
exemption from liability for injury however caused, they may be held to include injury caused
by negligence even though the word “negligence” is not mentioned.

468

Ch. 85 T

be enforced
liability. 42

Md.-—Seigr
636 (2000) (
use the word *
Real Estate, hi

N.H.—Barn

Or.—South
(1959) (quotin
The court held
track case acc
resulting direc
resulting from
recovered a }
expressly inclt
and reasonabk
a general prov
as follows: “E
reference in tk
suffice to mal
circumstances.

42 See, e.g.

U.S.—Chicz
denied, 344 U.

Cal.—Saen:
(1990); Basin :

Fla.—Sunn
(‘Such clauses
was made clei
understandable
away.”’).

Ga.—Seaba
Bohannon v. §

UL—Moss '
provided in fir
... from any

Miss.—Tur
enforce a prov
agreement sho
intends to be ;

N.Y.—Ash
Jordan v. City
N.Y.2d 723, I!
the city agains
the Contractor

N.C.— Wink
Lexington Ins.
522 S.E.2d 79

se 2:10-md-02179-CJB-DPC Document 4457-52 Filed 11/01/11 Page 16 of 18

Ch. 85 TO DEFRAUD OR OTHERWISE INJURE THIRD PERSONS $ 85.18

be enforced if the words do not clearly express an intention to exclude
liability. 42

Md.-—Seigneur v, National Fitness Inst., Inc., 132 Md. App. 271, 280, 752 A.2d 631,
636 (2000) ("In Maryland, for an exculpatory clause to be valid, it ‘need not contain or
use the word “negligence” or any other “magic words.” * *) (quoting Adloo v. H.T. Brown
Real Estate, Inc. 344 Md. 254, 266, 686 A.2d 298, 304 (1996)).

N.H.—-Barnes v. New Hampshire Karting Ass'n, 128 N.H. 102, 509 A.2d 151 (1986).

Or.—Southern Pac. Co. v. Morrison-Knudsen Co., 216 Or. 398, 417, 338 P.2d 665, 674
(1959) (quoting Stern v. Larocca, 49 NJ. Super. 496, 503-04, 140 A.2d 403, 407 (1958)).
The court held in a well-considered opinion reviewing and citing many cases, that in a spur-
track case a contract provision to indemnify the railroad “from all liability, cost and expense
resulting directly or indirectly from the presence or use of said bunker,” included liability
resulting from the negligence of the railroad company itself. In this case, an injured employee
recovered a judgment against the railroad. Although the indemnity provision did not
expressly include “negligence” of the railroad, there were many other factors making it just
and reasonable to include it and justifying a refusal to exclude one kind of liability from
a general provision for indemnity against “all liability.” The court quoted Stern v. Larocca
as follows: “By the overwhelming weight of authority, something less than an express
reference in the contract to losses from the indemnitee’s negligence as indemnifiable will
suffice to make them so if the intent otherwise sufficiently appears from language and
circumstances,”

42 See, e.g.:

U.S.—Chicago & N.W. Ry. v. Chicago Packaged Fuel Co., 195 F.2d 467 (7th Cir.), cert.
denied, 344 U.S. 832 (1952); Frankel v. Johns-Manville Corp., 257 F.2d 508 (3d Cir. 1958).

Cal.—Saenz v. Whitewater Voyages, Inc., 276 Cal. App. 3d 758, 276 Cal. Rptr. 672
(1990); Basin Oil Co, v. Baash-Ross Tool Co., 125 Cal. App. 2d 578, 271 P.2d 122 (1954).

Fla.—Sunny Isles Marina, Inc. v. Adulami, 706 So. 2d 920, 922 (Fla. Dist. Ct. App. 1998)
(“Such clauses are enforceable only where and to the extent that the intention to be relieved
was made clear and unequivocal in the contract, and the wording must be so clear and
understandable that an ordinary and knowledgeable party will know what he is contracting
away.”).

Ga,.—Seaboard Coast Line R.R. v. Dockery, 135 Ga. App. 540, 218 S.E.2d 263 (1975);
Bohannon v. Southem Ry., 97 Ga. App. 849, 104 $.E.2d 603 (1958).

fl.—Moss v. Hunding, 27 Ill. App. 2d 189, 192, 169 N.E. 2d 396, 398 (1960) (a lease
provided in fine print that the lessor should not “be liable to the lessee for injury to person
.. . from any cause’).

Miss.—-Turnbough v. Ladner, 754 So. 2d 467, 469 (Miss. 2000) (the court refused to
enforce a provision relating to scuba diving, stating that “{t]he wording of an exculpatory
agreement should express as clearly and precisely as possible the extent to which a party
intends to be absolved from lability’).

N.¥.—Ash v. New York Univ. Dental Ctr., 164 A.D.2d 366, 564 N.Y.S.2d 308 (1990);
Jordan v. City of New York, 3 A.D.2d 507, 511, 162 N.Y.S.2d 145, 149 (1957), aff’d, 5
N.¥.2d 723, 152 N.E.2d 667, 177 N.Y.S.2d 709 (1958) (a contractor promised to indemnify
the city against claims, “whether such damages or injuries be attributable ta negligence of
the Contractor or his employees or otherwise”).

N.C.-—-Winkler v. Appalachian Amusement Co., 238 N.C. 589, 79 S.E.2d 185 (1953);
Lexington Ins. Co. v. Tires Into Recycled Energy & Supplies, Inc., 136 N.C. App. 223,
522 S.E.2d 798 (1999),

469
Case 2:10-md-02179-CJB-DPC Document 4457-52 Filed 11/01/11 Pag

§$ 85.18 CONTRACTS CONTRARY TO PUBLIC POLICY PL8

Favors

In some transactions, one party may have asked the party seeking
exculpation for a favor and the party may have granted that favor. Yet the
grantor of the favor received no consideration or other benefit in“return.
Some courts may consider the lack of benefit as a factor to be evaluated
in the analysis of the enforceability of the exculpatory provision. This factor
may have less than decisive weight. 43

Claims of Minor Children

Courts do not enforce exculpatory provisions agreed to by parents to
release prospective claims of minor children. Parents cannot compromise
a child’s existing cause of action. Thus, courts reason, parents cannot release
liability claims prospectively. 44

Or.—-Estey v. MacKenzie Eng’g Inc., 324 Or. 372, 927 P.2d 86 (1996); Southern Pac.
Co. v. Layman, 173 Or. 275, 145 P.2d 295 (1944).

43 See Gray Line Co. v. Goodyear Tire & Rubber Co., 280 F.2d 294 (9th Cir. 1960).
The court draws a distinction between Southern Pac. Co. v. Layman, 173 Or. 275, 145 P.2d
295 (1944) and Southern Pac. Co. v. Morrison-Knudsen Co., 216 Or, 398, 338 P.2d 665
(Or. 1959). In the Layman case, the indemnity clause was sufficiently general to include
all losses however caused, but not expressly including losses caused by the indemnitee’s
own negligence. In the Morrison-Knudsen case, the contract clause was similar: but the
contract containing it was one that was made for the benefit of the indemnitor and dealt
with a situation that increased the risks of the indemnitee. Thus, the court in Morrison-
Knudsen enforced the indemnity provision. In the Layman and Gray Line cases, the purposes
and benefits of the matter dealt with in the contract were different. The indemnitee that
was itself negligent was denied indemnity because negligence was not expressly mentioned,
Chicago & Northwestern Ry. v. Rissler, 184 F. Supp. 98, 100 (D. Wyo. 1960). fn return
for the railway’s granting the privilege of using a temporary crossing for the defendant's
own private business, the defendant agreed to indemnify the company “against any loss or
damage. . . even though the operation of the Railway Company's railroad may have caused
or contributed thereto.” The court held that even though the provision did not use the word
negligence, the quoted words were sufficient to include negligent action by the company.
The company was a common carrier, but it was not rendering public service with respect
to this defendant. The granting of the license for the temporary crossing was not in the least
for the benefit of the company.

44 See, e.g.:

Conn.—Fedor v. Mauwehu Council, Boy Scouts of Am., Inc., 21 Conn. Supp. 38, 143
A.2d 466 (Conn. Super. Ct. 1958).

Nl.—-Meyer v. Naperville Manner, Inc., 262 Il. App. 3d 141. 634 N-E.2d 411, 199 1.
Dec. 572 (1994).

Me,—-Doyle v. Bowdoin College, 403 A.2d 1206 (Me. 1979).

N.J.—-Fitzgerald v, Newark Morning Ledger Co., 111 N.J. Super. 104, 267 A.2d 357
(1970),

Tenn.—Childress v. Madison County, 777 S.W.2d { (Tenn. Ct. App. 1989).
Tex.—Munoz v. If Jaz Inc., 863 S.W.2d 207 (Tex. Ct. App. 1993).

470

of 18

Ch. 85 T

Limitatioi

A party 1
of promises.
courts.45 §
fraudulently
between a t
limits the o
if the owne

§ 85.19

When tw:
when in fac
a third pers¢

Utah—Hav
majority of cc
prospective cl

Wash.—Sc

45 See UCC

46 See Psat

1 See, e.g.:

U.S.—-Units
(holding that :
accounts was
law that wher
in fact it is ne
by either of
S4t (7th Cir.}
sale of stock

Ariz.— Arla
(the court hel

Ill.—Esser
(the court gave
the contractor
a sham to aid

Md.—~Sout
A. 513 (1900)
admitted evide
other parties
advertising an
verbal conditr

N.J.-—-Samy
NJ. Eq. 24.5

Case 2:10-md-02179-CJB-DPC Document 4457-52 Filed 11/01/11 Page 18 of

Ch. OSS PO DEFRAUD OR OTHERWISE INFCRE FHIRD PERSONS S NALO

Linutation of Daniges

A party may contract to limit lability in damages for nonperformance
of promises. Liquidated damages clauses are commonly enforced by modern
courts. 45 Such a provision is not effective, however, if that party acts
fraudulently or in bad faith. For example, in the situation of a contract
between a homeowner and a builder, a court will enforce a provision that
limits the owner's ability for causing delay in the builder's performance
if the owner has not acted in bad faith. 46

§ 85.19 Effect of a Sham Bargain Intended Only to Deceive
Others

When two partes execute a written instrument purporting to be a contract
when in fact lis not, their purpose being to use it to deceive or defraud
a third person, the written instrument is not itself enforceable as a contract.

Utah-- Hawkins ex rel. Hawkins v. Peart. 37 Podd 1062. 1065 (tltah 2002) 0° clear

mayenity Gf courts weating the iwsue have held that a parent may uot release a minor's
prospecuve claum for negheence.),

Wash.--Scott s. Pacilie Wo Mountain Resort. [19 Wash, 2d 484. 834 Pod 6 1992),

45 See UCC § 2-719) See also Wassenaar Vv) Panos. 331 NOWo2d 357 (Wis. POX 3)

46 See Psaty & Fuhrman v. Housing Auth. 76 RoE ST. OS Ad 32 C1049).

Psce. eas

US. United States vy Acta Casualty, & Sur Co. 480 bod 1098, 10990 rsth Cir, 1973)
holding that a letter reciting full payment by the prime contractor me full settlement of all

decounts was a shantand not a fall discharge: the court stated that “itis settled and sound

law that when two parties exccite a written imstument purporting ta be a contract when
IN Fagtt is not. the purpose being tovecenve a ttird person. the mstrument is anentorceuble
by ether of the mmmecditte parties) Nice Ball Bearing Co. ¥. Bearing Jobbers. 208 F.2d
S41 i7th Cir. cert demed. 346 (8. OF] (1953) tan apparenth integrated contract for the
sale ob steck was held to be a sham and not operatives.

Ariz. Anvona Catton Ginning Co. v. Nichols. 9 Ariz. App. 493. 454 P.2d 163 11969)
Ohe court held a note was a shan).

THe besser vy Community Consol. Sch. Bist. 335 HL App. 199 SEN Ed 270 t 1948)
(the court gave a contractor judgment for an anmiount due for labor and materials even though
the contractor had executed a release under seal of all clans: the release wis executed as
ashame to aid the school district in obtaining a subsidy.

Md. Southern St. Ryo Ndvertisimg. Co. y. Metropole Shoe My. Co. OL Mu. 61. 46
A. S131 1900) Cina suit on a document purporting to be a Tully executed contract, the court
admitted evidence to show that it was executed atthe plaintiff's request to he used to induce
vther parties to make similar contracts: the real agreement was for a smaller aniount of

advertising and at lower vittes. and it nade no difference that the wriung state! that “Info

verbal conditions made by agents will be recomized”),
N.JeoeSamipson v. Pierson. 140 NE Eg. S24. 55 AQ SES UNL Ch. 1947) reed. $42
NUE by. 24. 50 N20 5 (1948). Flom violation af a statute providing for muaisinmi rentals,

47 |

